Case 1:18-Cr-10117-ADB Document 24 Filed 06/07/18 Page 1 of 2

`.*

AO 98 (Rev. lZ/l l) Appeamnce Bond

UNITED STATES DISTRICT COURT

for the
District of Massachusetts

United States of America )
v. )
) Case No. 1:1a-cr-10177-ADB-1

Bulmaro Enriguez )
Defendam )

APPEARANCE BOND

Defendant’s Agreement

1 Bulmaro Enriquez (defendam), agree to follow every order of th1s court, or any

 

court that considers this case, and I further agree that this bond may be forfeited if I fail:
( X ) to appear for court proceedings;
( X ) if convicted, to surrender to serve a sentence that the court may impose; or
( ) to comply with all conditions set forth in the Order Setting Conditions of Release.

 

 

Type of Bond
( ) (l) This is apersonal recognizance bond.
( ) (2) This is an unsecured bond of $
( X ) (3) This is a secured bond of $ 72,000.00 , secured by:
( ) (3) $ , in cash deposited with the court.

( X ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(describe the cash or other property, including claims on ir - such as a lien, mortgage, or loan - and attach proof of
ownership and value):

12 Sherwin Terrece Framingham, MA 01702-5767
If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( ) (C) a bail bond With a SOlVent Sur€ty (attach a copy of the bail bond, or describe il and identify the surety)f

Forfeiture or Release of the Bond

For;feiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.

Case 1:18-Cr-10117-ADB Document 24 Filed 06/07/18 Page 2 of 2

Pagc 2

AO 98 (Rev. lle l) Appearance Bond

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (l) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Decla rations

Ownership of the Property. I, the defendant- and each surety - declare under penalty of perjury that:

(l) all owners of the property securing this appearance bond are included on the bond;

(2) the property is not subject to claims, except as described above; and

(3) l will not sell the property, allow further claims to be made against it, or do anything to reduce its value
while this appearance bond is in effect.

Acceprance. I, the defendant- and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. l agree to this Appearance Bond.

I, the defendant- and each surety - declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Date: iff l |lK MM@" 52/5(‘/'/“'('3

 

 

 

 

Defendcm! 's signa%e
j:@*/*UL/\ §§ 610 1 en e Pm/war»e’€ c
wary/property owner- printed"¥ name Szrreg)¢)roperg) owner - signalure and date
Surety.§oroperry owner - printed name Surety/properly owner - signarw'e and date
Surer/property owner - printed name Suren)(oroperty owner - signature and dale
CLERK OF CO URT

aaa `@l l’ll§ l\/\UU(..KM/W“ Be/A/ma/UL_

Signarure ofClerk or Depury Clerlc

Approved.

anna n faa we l 13a 1a deny

Judge’ .1‘ signature

